     Case 2:23-cv-02224-SHL-atc             Document 448         Filed 07/16/25    Page 1 of 6
                                            PageID 6195


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


     ROWVAUGHN WELLS,

                           Plaintiff,                   Case No. 2:23-cv-02224-MSN-ATC

           v.

     THE CITY OF MEMPHIS, et al.,

                           Defendants.


                PLAINTIFF’S MOTION TO CONTINUE JULY 23 HEARING
                           OR ORDER REMOTE HEARING

        Plaintiff, through her undersigned counsel, submits this motion and memorandum in

support to respectfully request that the Court continue the date of the status hearing currently set

for July 23, 2025, or alternatively to set it remotely for all parties.

        One of Plaintiff’s attorneys, Joshua Levin, is taking a deposition in this case on July 23rd

of a Memphis Police Department official. The deposition location (488 S. Mendenhall Road in

Memphis), is about 25 minutes by car from the Court. Even were the site of the deposition to be

moved closer to the courthouse, one can reasonably anticipate—given the need to travel to court,

pass through security, move through the building, and then return from the courthouse—a

minimum disruption of 45 minutes to an hour for travel alone. That would be in addition to the

length of the hearing itself. Disruption of Plaintiff’s discovery deposition is guaranteed—and

holding the hearing on July 23 will likely require the deposition to continue into a second day, a

possibility that none of the numerous attorneys on this case have scheduled for.

        To make matters worse, it will be difficult or impossible for two of the senior attorneys

for Plaintiff—Antonio Romanucci and Stephen Weil—to participate in the hearing in-person. Mr.


                                                    1
     Case 2:23-cv-02224-SHL-atc           Document 448        Filed 07/16/25      Page 2 of 6
                                          PageID 6196



Weil will be in transit out of state on July 23, and Mr. Romanucci has professional travel

obligations out of state scheduled for the days immediately before and after July 23. Sarah

Raisch, the fourth active member of the litigation team with familiarity of the various motions at

issue, is also unable to appear in person for the hearing. Ms. Raisch is a member of the Illinois

Torture Inquiry and Relief Commission, and the Commission is convening for a meeting on July

23 for which attendance is mandatory under Illinois law. July 23 is a bad day for Plaintiff’s

litigation team to appear in person at the hearing set by the Court.

       Over the last several days, Plaintiff has approached counsel for the City of Memphis to

ask whether they would agree to a proposed alternative date for the hearing, or minimally, to

agree that the hearing be held remotely for all parties. The City has rejected both.

       With respect to rescheduling the hearing date, the City’s attorneys stated that the entire

week of July 28 was unavailable because they would be taking depositions that week, in another

case. The City has otherwise declined the dates and times Plaintiff has proposed. Instead, the

City’s lawyers have told Plaintiff’s counsel that they will leave the July 23 deposition and travel

to the courthouse. They have also rejected parity with respect to the hearing being remote for all

parties. This motion follows.

                                          *      *       *

       Plaintiff respectfully submits that the July 23 hearing can and should be continued to

another date. The hearing would significantly disrupt the deposition being taken by Plaintiff’s

counsel, and in-person attendance by key members of Plaintiff’s counsel team would be either

difficult or impossible. That much is set out above.

       There is an additional reason to move the July 23 date: in their joint motion for hearings

on pending motions, the parties noted that Plaintiff would be filing a motion to amend the



                                                 2
     Case 2:23-cv-02224-SHL-atc           Document 448         Filed 07/16/25       Page 3 of 6
                                          PageID 6197



scheduling order in this case. See ECF 445 at 3 (noting that “Plaintiff will soon be filing an

opposed motion to amend the scheduling order, and intends to request a hearing on that

forthcoming motion as well.”). Plaintiff has filed that motion, ECF 447, on July 11, and a

request to set that motion for oral argument is forthcoming. Plaintiff submits that the Court’s

adjudication of Plaintiff’s motion to amend the scheduling order will, as a practical matter,

control or at least bear heavily on the manner in which the Court addresses a number of the

motions that the July 23 hearing has been convened to discuss.

       The City’s attorneys, meanwhile, have indicated to Plaintiff’s counsel that they do not

intend to file a response to Plaintiff’s motion to amend the schedule before the July 23 hearing.

Continuing the July 23 hearing to a later date, once defense responses have been filed, would

allow the Court to consider the Plaintiff’s scheduling motion with full briefing, and to do so in

conjunction with, rather than after, the Court’s consideration of the matters currently set for the

July 23 status hearing. Plaintiff respectfully submits that the best use of both the Court’s and the

parties’ time and resources would be to hold a single hearing in which the Plaintiff’s scheduling

motion and the other pending motions are discussed together—and at which the parties’ full

litigation teams can appear in person, permitting them to confer with each other in real time and

address the Court directly.

       Alternatively, if the Court decides to keep the July 23 hearing date, Plaintiff requests that

the hearing be held remotely for all parties. Doing so would mitigate the disruption to the

deposition Plaintiff is taking. Conducting the hearing remotely for all parties would also put

Plaintiff’s counsel and the City’s counsel on equal footing, allowing Plaintiff’s litigation team to

participate in the same manner as the City’s counsel, without a hybrid hearing that would make it

difficult or impossible for Plaintiff’s counsel to consult during the hearing in real time.



                                                  3
     Case 2:23-cv-02224-SHL-atc           Document 448         Filed 07/16/25      Page 4 of 6
                                          PageID 6198



       WHEREFORE, Plaintiff respectfully requests that

       (1) the Court continue the July 23 hearing to another date, or in the alternative,

       (2) the Court order that the July 23 hearing be held remotely for all parties.

If the Court declines to grant this relief, Plaintiff respectfully requests that Mr. Romanucci, Mr.

Weil, and Ms. Raisch be permitted to appear remotely.

Dated: July 16, 2025                          Respectfully submitted,

                                              /s/ Joshua M. Levin
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                                              Sarah Raisch* (Ill. Bar No. 6305374)
                                              Joshua M. Levin* (Ill. Bar No. 6320993)
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                                                  4
Case 2:23-cv-02224-SHL-atc   Document 448       Filed 07/16/25   Page 5 of 6
                             PageID 6199



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                                   5
     Case 2:23-cv-02224-SHL-atc             Document 448       Filed 07/16/25       Page 6 of 6
                                            PageID 6200



                              CERTIFICATE OF CONSULTATION

        From July 11 to July 16, 2025, Plaintiff conferred via e-mail with all Defendants regarding

the relief requested in this motion. Additionally, on July 14, 2025, counsel for Plaintiff and counsel

for the City conferred via phone conference with Mr. Joseph Warren, the Court’s case manager.

The parties have been unable to reach an accord as to all relief requested in this motion.

        The City objects to rescheduling the July 23 hearing or having all parties appear remotely.

The remaining defendants have not responded regarding those requests as of this filing.

        Defendants City of Memphis, Chief Davis, Emmitt Martin, III, Preston Hemphill,

DeWayne Smith, Tadarrius Bean, Michelle Whitaker, and Robert Long do not object to Plaintiff’s

counsel appearing remotely at the July 23 hearing. The remaining defendants have not responded

regarding that request as of this filing.

                                                              /s/ Joshua M. Levin




                                                  6
